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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE COMMISSION,

                              Plaintiff,

                    v.
                                                           No. 1:23-cv-01599-ABJ-ZMF
BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS INC.,
AND CHANGPENG ZHAO,

                              Defendants.


                         UNOPPOSED MOTION FOR CONTINUANCE

         Pursuant to Federal Rule of Civil Procedure 6(b) and LCvR 16.1(b), BAM Trading

Services, Inc. (“BAM Trading”) and BAM Management US Holdings Inc. (“BAM Management,”

together with BAM Trading, “BAM”), by and through BAM’s undersigned counsel, hereby

respectfully moves for a continuance until January 19, 2024 for the Court to hold a hearing on the

motions to dismiss the above captioned matter, which is currently set for January 18, 2023. In

support of this Motion, BAM states as follows:

         1.    On October 24, 2023, the Court ordered the parties to appear for a hearing on the

motions to dismiss the above captioned matter on January 18, 2024, at 10:00 AM.

         2.    Unfortunately, lead counsel for BAM is unavailable on the date selected by the

Court.

         3.    In accordance with LCvR 16.1(b), counsel for BAM promptly notified counsel for

the Securities and Exchange Commission (“SEC”) as soon as it became aware of the scheduling

conflict. Counsel for BAM has conferred with counsel for Plaintiff and the other Defendants, and
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all parties would be available to attend the conference on January 19, 2024. The SEC and the other

Defendants do not object to the requested continuance of the conference to January 19, 2024.

       4.      The requested continuance is made in good faith, and will not cause any delay or

prejudice. Furthermore, good cause exists for the requested continuance until January 19, 2024,

because the continuance would resolve the scheduling conflicts described above.

       Accordingly, for good cause shown, BAM respectfully requests that this Honorable Court

grant this unopposed Motion, and continue the hearing currently scheduled for January 18, 2024,

to January 19, 2024.


Dated: November 9, 2023                             Respectfully submitted,

                                                    /s/ William R. McLucas
                                                    William R. McLucas (pro hac vice)
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                                                    Attorneys for Defendants BAM Trading
                                                    Services Inc. and BAM Management Holdings
                                                    US Inc.




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